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Approved, SCAO

Original - Court

1st copy - Plaintiff
2nd copy - Garnishee
3rd_copy - Defendant

 

STATE OF MICHIGAN
U.S. District JUDICIAL DISTRICT
JUDICIAL CIRCUIT

 

GARNISHEE DISCLOSURE

CASE NO.
5:11-cv-13195

 

 

Court address
231 W. Lafayette Detroit, MI 48226

 

Plaintiff name, address, and telephone no. (judgment creditor)
United States of America

Court telephone no.

 

 

Plaintiffs attorney, bar no., address, and telephone no.

Goodman & Poeszat, PLLC
20300 W. 12 Mile Rd Ste 201
Southfield, MI 48076

248 750 0500

Defendant name, address, and telephone no. (judgment debtor)

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GCI 02 202

19946 Strasburg

Maurice Taylor —e
Detroit, MI 48205-1636

 

Garnishee name and address

City of Detroit

2 Woodward Ave Room 124
Paymaster City County Building
Detroit, MI 48226

CLERK’S OFFI
DETROIT

 

 

 

 

 

 

SEE INSTRUCTIONS ON OTHER SIDE

1. This disclosure is for a writ of garnishment issued on 09 20 2012 and. received by garnishee on 9-91-10
“a. The garnishee mailed or delivered a copy of the writ of garnishment to the defendant on — GeO
|_]b. The garnishee was unable to mail or deliver a copy of the writ of garnishment to the defendant.

2. At the time of service of the writ:

Nonperiodic Garnishments

..1@. The garnishee is not indebted to the defendant for any amount and does not possess or control the defendant's property,
money, etc. Reason:

'_Ib. The garnishee is indebted to the defendant for nonperiodic payments as follows:

 

 

 

Description of property, money, negotiable instruments, etc. under garnishee's control Type of account and account number, if applicable
The amount to be withheld is $ and does not exceed the amount stated in item 2 of the writ.
_]c. Withholding is exempt because
Periodic Garnishments
Nid. The garnishee is not obligated to make periodic payments to the defendant during the 91-day period.
Reason: [| not employed. _| other wa’

|e. The garnishee is obligated to make Periodic payments to the defendant during the 91-day period as follows.
Payments arefor (_|

 

State the exemption and legal authority

  

 

Specify nature of payment (see instructions on other side)

(_] semimonthly. [| monthly. [7 other:
frequency of payment

Ahigher priority writforder ~lis ([Jlisnot currently in effect. Ifa higher priority writ/order is in effect, complete the following.

Payments aremade _]weekly. |] biweekly.

 

Name of court that issued higher priority writ/order Case number Date issued ' Date served
Withholding under this writ
_| will begin immediately if sufficient funds are available. . °
NJ will not begin immediately because defendant is [I laid off. Clsick. [lonleave. (1 other: _ (MW

specify iO - lo “HD
| declare that the statements above are true to the best of my information, k ledge, and belief.
O-Q 018 ON, 2
Date Garnishee/Agent\ittorney signature

| certify that:
on (\ pS | mailed or personally delivered the original of this disclosure to the court.
on LA -__\ J= a | mailed or personally delivered a copy of this disclosure to the plaintiff/attorney.

on | CA | mailed or personally delivered a copy of this. disclosure to the defendant.

QO-ar-to Cy (ye
Date Garnishee/Agen un
DO NOT Include Your Payment With This Disclosure. See item 3 of the instructions for details.
mc 14 (5/09) GARNISHEE DISCLOSURE

 

    
     

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6rney signature

    

15 USC 1672, 15 USC 1673, MCR 3.101

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